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                           EXHIBIT 2
     Case 5:17-cv-00295-RGK-KK Document 84-3 Filed 12/21/20 Page 2 of 2 Page ID #:5189




From:                                   Michael Vaska <mike.vaska@foster.com>
Sent:                                   Wednesday, December 4, 2019 3:16 PM
To:                                     'tschierling@swsslaw.com'
Cc:                                     'dgardenswartz@swsslaw.com'; Solish, Jonathan
Subject:                                Olympic Eagle


Dear Tanya
It was good talking with you last week. As I said on our call, Olympic Eagle would like to know if Monster Energy remains
committed to arbitrate the dispute between the parties as required by paragraph 26 of the Hansen Beverage
Company/Monster Beverages Off-Premise Distribution Agreement dated October 20, 2006, assuming of course the
Ninth Circuit does not modify its decision to vacate the award issued by Judge Kennedy. Please let me know one way or
the other by Monday, December 6.

If the answer is in the affirmative, please also let me know if Monster Energy will require the arbitration to be
administered by JAMS as specified by the agreement, or in the if it is willing to consider an alternative.

Thanks.
Mike




Michael Vaska
Principal

Tel: 206.447.8895 ! Fax: 206.749.2024
mike.vaska@foster.com

Foster Garvey PC
1111 Third Avenue, Suite 3000
Seattle, WA 98101
foster.com

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